Case 2:03-cv-02528-.]PI\/|-STA Document 51 Filed 09/01/05 Page 1 of 3 Page|D 77

 

IN THE UNITED s'rA'rEs DISTRICT coUR'r mfg BY
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BRUCE cARD, 915ng U_S_ Dl,S'm,CT COURT
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Plaintlff, “"o
v. No. 03-2528 ml/An

AMISUB (SFH), INC. d/b/a
ST. FRANCIS HOSPITAL and
B. LAWSON, M.S.,

Defendants.

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ORDER FOLLOWING SCHEDULING CONFERENCE AND ORDER SETTING
DISCOVERY AND TRIAL SCHEDULE

 

The Court held a scheduling conference by telephone in this case
on Wednesday, August 31, 2005. Plaintiff was represented by James W.
Hodges, Jr., Esq. Defendants were represented by Jerry O. Potter,
Esq. The Court hereby sets a new scheduling order as follows:
Discovery[Motions:
Disclosure of Plaintiff Bruce Card’s medical and psychiatric records:
September 30, 2005

Completion of fact witness depositionsl: October 17 2005

 

Disclosure of Plaintiff's expert witness reports: December 2c 2005
Disclosure of Defendants' expert witness reports: January 30c 2006
Filing dispositive motions: January 30l 2006

Completion of expert witness depositions: March 15l 2006

 

1 Pursuant to the parties' agreement at the conference,

Defendants' deposition of Plaintiff Bruce Card Will take place prior
to Plaintiff's deposition of Defendant Lawson.

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Case 2:03-cv-02528-.]PI\/|-STA Document 51 Filed 09/01/05 Page 2 of 3 Page|D 78

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The jury trial in this matter is set to begin Mondav, April 24, 2006,
at 9:30 a.m.

Pretrial Conference: Tuesdav, April 18, 2006, at 9:00 a.m.

Pretrial Order: The pretrial order and proposed jury instructions and
voir dire questions are due no later than 4:30 p.m. on Tuesdayl

April lll 2006

So ORDERED this l day of September, 2005.

. mmi

JO P. MCCALLA
TED STATES DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 51 in
case 2:03-CV-02528 Was distributed by faX, mail, or direct printing on
September 2, 2005 to the parties listed.

ESSEE

 

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Honorable J on McCalla
US DISTRICT COURT

